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 5
     Attorney for Defendant and Appellant
     KENNETH PARKS
 6

 7                           UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA                    )   Case No.: 2:12-CR-375 TLN
                                                 )
12                                               )
     Plaintiff and Respondent,                   )   [9th Circuit Case No. 14-10419]
13                                               )
                                                 )
     vs.                                         )   ORDER GRANTING APPOINTED
14                                                   APPELLATE COUNSEL ACCESS TO
                                                 )
                                                 )   ATTACHMENT NO. 4 TO CLERK’S
15                                                   OFFICE RECORD NO. 110
     KENNETH KIM PARKS,                          )
16                                               )
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     Defendant and Appellant                     )
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             ORDER GRANTING APPOINTED COUNSEL ACCESS TO A SEALED
                       ATTACHMENT NO. 4 TO CR 110

                                 BY: Defendant and Appellant Kenneth Kim Parks
               Case 2:12-cr-00375-TLN Document 167 Filed 06/18/15 Page 2 of 2


 1          The Court has considered appellant’s motion to give his appointed appellate
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     attorney access to a document filed under seal. The Court finds good cause to grant the
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 4   motion.    Appellant’s request is therefore GRANTED. The Clerk’s Office is directed to
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     send to the defendant’s appointed appellate attorney Gene Vorobyov a copy of the
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 7   sealed attachment no. 4 to the final presentence report (CR 110).

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            IT IS SO ORDERED.

11   Dated: June 18, 2015
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14                                         Troy L. Nunley
                                           United States District Judge
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               ORDER GRANTING APPOINTED COUNSEL ACCESS TO A SEALED
                         ATTACHMENT NO. 4 TO CR 110

                                    BY: Defendant and Appellant Kenneth Kim Parks
